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 8                                    UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    ERICK LATON STEWART, SR.,                          Case No. 1:20-cv-00978-HBK (PC)
12                       Plaintiff,                      ORDER DISCHARGING AMENDED WRIT
                                                         OF HABEAS CORPUS AD
13           v.                                          TESTIFICANDUM FOR PLAINTIFF
                                                         ERICK LATON STEWART, SR.,
14    DE LA CRUZ, et al.,                                CD # V-59299
15                       Defendant.                      (Doc. No. 59)
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18          Plaintiff is a state prisoner proceeding pro se in this civil rights action pursuant to 42
19   U.S.C. § 1983. On February 26, 2025, the Court issued an Amended Order & Writ of Habeas
20   Corpus Ad Testificandum for Plaintiff Erick Laton Stewart, Sr., CD #V-59299 for a pretrial
21   conference scheduled on March 19, 2025 at 1:00 p.m. by Zoom before the undersigned. (Doc.
22   No. 59). On March 7, 2025, Defendants filed a Notice of Settlement informing the Court the
23   parties had reached a settlement in this matter such that the pretrial conference is no longer
24   necessary. (Doc. No. 61).
25          Accordingly, it is ORDERED:
26          1. The Writ of Habeas Corpus Ad Testificandum for Plaintiff Erick Laton Stewart, Sr.,
27                CD #V-59299 issued on February 26, 2025 (Doc. No. 59) is DISCHARGED.
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     Case 1:20-cv-00978-HBK            Document 62          Filed 03/10/25   Page 2 of 2


 1            2. The Clerk’s Office shall serve a courtesy copy of this order by e-mail on the Litigation

 2               Coordinator at Salinas Valley State Prison and on the Litigation Coordinator of any

 3               other institution which requires this information.

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 5   Dated:      March 10, 2025
                                                        HELENA M. BARCH-KUCHTA
 6                                                      UNITED STATES MAGISTRATE JUDGE
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